Case 8:22-cv-01798-JWH-JPR Document 31 Filed 02/09/24 Page 1 of 2 Page ID #:387



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  8                          UNITED STATES DISTRICT COURT
  9                        CENTRAL DISTRICT OF CALIFORNIA
 10 WILSON CHUNG and LISA                     Case No. 8:22-cv-01798-JWH-JPR
    BURTON, individuals, on behalf of
 11 themselves and on behalf of all persons   (Removed from Orange County Superior
    similarly situated,                       Court Case No.
 12                                           30-2022-01268754-CU-OE-CXC)
                    Plaintiffs,
 13                                           ORDER GRANTING JOINT
               v.                             STIPULATION TO CONTINUE TO
 14                                           STAY CASE IN ITS ENTIRETY
      MONROE OPERATIONS, LLC, a
 15   Limited Liability Company; and DOES     Complaint Filed: July 7, 2022
      1 through 50, inclusive,
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                    Defendants.
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Case 8:22-cv-01798-JWH-JPR Document 31 Filed 02/09/24 Page 2 of 2 Page ID #:388




  1            For good cause shown, and based upon the stipulation of the Parties, it is
  2 hereby ORDERED as follows:
  3            1.    The parties’ Stipulation is APPROVED.
  4            2.    All litigation and pending formal discovery remains STAYED.
  5            3.    Any party may make a motion at any time to modify or vacate the stay,
  6 for good cause shown.
  7            4.    The Parties are DIRECTED to file a Joint Report regarding the status
  8 of settlement no later than May 8, 2024, and every 90 days thereafter.
  9            IT IS SO ORDERED.
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 11 Dated: ________________,
             February 9      2024
                                                      HONORABLE JOHN W. HOLCOMB
 12                                                   UNITED STATES DISTRICT JUDGE
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                                         JOINT STIPULATION
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